                                           Case 19-43449-mxm7                        Doc 16  Filed 01/29/21
                                                                                                    FORM 1
                                                                                                             Entered 01/29/21 11:48:29                                           Desc Main
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                                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                         Page No:       1

                                                                                                               ASSET CASES

Case No.:                        19-43449-MXM                                                                                                                      Trustee Name:                              John Dee Spicer
Case Name:                       TIN TOP DECKING LLC                                                                                                               Date Filed (f) or Converted (c):           08/23/2019 (f)
For the Period Ending:           12/31/2020                                                                                                                        §341(a) Meeting Date:                      10/22/2019
                                                                                                                                                                   Claims Bar Date:                           04/29/2020

                                     1                                                 2                                3                                  4                        5                                           6

                            Asset Description                                      Petition/                     Estimated Net Value                   Property                Sales/Funds              Asset Fully Administered (FA)/
                             (Scheduled and                                      Unscheduled                    (Value Determined by                   Abandoned               Received by              Gross Value of Remaining Assets
                        Unscheduled (u) Property)                                   Value                              Trustee,                  OA =§ 554(a) abandon.          the Estate
                                                                                                               Less Liens, Exemptions,
                                                                                                                  and Other Costs)

 Ref. #
1       CASH AND CASH EQUIVALENTS                                                          $1,000.00                              $1,000.00                                                $0.00                                          FA
Asset Notes:          Cash on hand
2          CASH AND CASH EQUIVALENTS                                                          $0.00                                      $0.00                                             $0.00                                          FA
Asset Notes:          Chase - Business Checking Account
3          CASH AND CASH EQUIVALENTS                                                       $8,000.00                              $8,000.00                                         $3,857.75                                             FA
Asset Notes:          Bank of America - Business Checking Account
4          ACCOUNTS RECEIVABLE                                                         $15,960.00                                $15,960.00                                                $0.00                                          FA
Asset Notes:          Accounts receivable 90 days old or less: $15,960.00
5          ACCOUNTS RECEIVABLE                                                         $32,530.00                                $32,530.00                                                $0.00                                          FA
Asset Notes:          Accounts receivable over 90 days old = $32,530.00
6          OFFICE FURNITURE                                                                 $500.00                                 $500.00                                                $0.00                                          FA
Asset Notes:          Office desks (4); Credenzas (3); Sitting chairs (5); Desk chairs (4); Refrigerator; Coke machine; Sofa/loveseat; Pub table; Pub table chairs (2)
7      OTHER PROPERTY NOT ALREADY                                          $17,972.14                           $17,972.14                                                                 $0.00                                          FA
       LISTED
Asset Notes:  Reimbursement claim against Ricky DeLeon for use of debtor's equipment rental account and repayment thereof


TOTALS (Excluding unknown value)                                                                                                                                                                            Gross Value of Remaining Assets
                                                                                        $75,962.14                              $75,962.14                                              $3,857.75                                   $0.00




        Major Activities affecting case closing:
         12/31/2020      The Trustee will file a No Distribution Report with Minimal Funds
         09/15/2020      The Trustee has obtained an order to pay expenses and distribute excess funds to the members of the debtor. The Trustee has made the disbursements and will file a No Distribution
                         Report with Minimum Funds.
         12/31/2019      The Trustee will make demand on the accounts receivable.


    Initial Projected Date Of Final Report (TFR):            03/31/2022                                Current Projected Date Of Final Report (TFR):           01/31/2021                /s/ JOHN DEE SPICER
                                                                                                                                                                                         JOHN DEE SPICER
